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                    UNITED STATES DISTRICT COURT
                      DISTRICT OF NEW MEXICO


MORA INDEPENDENT SCHOOL DISTRICT AND
MORA-SAN MIGUEL ELECTRIC
COOPERATIVE,

       Plaintiff,

  v.
                                               No. _____________
FEDERAL EMERGENCY MANAGEMENT
AGENCY AND DOES 1-20

       Defendants.




                            COMPLAINT
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                             INTRODUCTION

     1.     Plaintiffs challenges an aspect of the final administrative

rule titled “Hermit’s Peak/Calf Canyon Fire Assistance,” RIN 1660–

AB14, issued by the U.S. Department of Homeland Security, Federal

Emergency Management Agency (“FEMA”) on August 29, 2023, and

published in the Federal Register on August 29, 2023 (hereinafter

“Rule”).1

     2.     A portion of the Rule should be set aside because it

unlawfully denies Plaintiffs’ property right of compensation under the

Hermit’s Peak Fire Assistance Act (“HPFAA”) for damage caused by the

Hermit’s Peak and Calf Canyon Fires in violation of the Administrative

Procedure Act and United States Constitution.

     3.     Congress established the HPFAA “to compensate victims of

the Hermit’s Peak/Calf Canyon Fire, for injuries resulting from the fire”

and “to provide for the expeditious consideration and settlement of

claims for those injuries.” HPFAA, Pub. L. No. 117-180, § 102(b).




     1    Hermit’s Peak/Calf Canyon Fire Assistance, 88 Fed. Reg.
59,730 (Aug. 29, 2023) (to be codified at 44 C.F.R. pt. 296).

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      4.    Under the HPFAA, claimants are entitled to “payment under

this Act” for “actual compensatory damages” to be determined “[n]ot

later than 180 days after the date on which a claim is submitted under

this Act.” HPFAA, Pub. L. No. 117-180, §§ 102(b), 104(c)(3).

      5.    FEMA’s Final Rule denies compensation under the HPFAA

for injuries or costs that are eligible under the Public Assistance

Program. 2 This is inconsistent with the purpose of the HPFAA to

provide expeditious compensation for actual compensatory damages. It

also results in an unlawful withholding of Plaintiffs’ property right to

compensation under the HPFAA as the last day to file a claim under the

Act is November 14, 2024. It is also contrary to the Public Assistance

Program, which is a discretionary reimbursement program that will not

cover all of Plaintiffs’ damages. 3

      6.    Plaintiffs seek declaratory, injunctive, equitable, and other

appropriate relief against FEMA to preclude it from withholding a

constitutional property right by categorically denying compensation to

Plaintiffs for actual compensatory damages caused by the Fire.


      2     44 CFR 296.21(f)(2).
      3     See Robert T. Stafford Disaster and Emergency Assistance
Act (“Stafford Act”) § 312(c) and Exhibit C FEMA Presentation.
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                         JURISDICTION & VENUE

     7.    This Court has jurisdiction under 28 U.S.C. § 1331 because

this is a civil action arising under the Constitution and laws of the

United States, and 28 U.S.C. §§ 1346 and 2671 because a United States

agency is a defendant.

     8.    This Court has jurisdiction under 5 U.S.C. §§ 701–706, and

28 U.S.C. § 2201–2202, because this action is brought by persons

adversely affected by agency action, and seeks to right a legal wrong

due to agency action as set forth in 5 U.S.C. §§ 701 and 702.

     9.    The Court also has jurisdiction pursuant to 28 U.S.C. § 1331

and the APA, 5 U.S.C. § 701 et seq. The challenged rule is final and

reviewable agency action. It marks the consummation of agency

decision-making, mandates obligations on Plaintiffs, and carries legal

consequences. See 5 U.S.C. § 704.

     10.   Defendant’s issuance of the Rule on August 29, 2023,

constitutes a final agency action subject to judicial review under 5

U.S.C. §§ 704 and 706. The challenged rule marks the consummation of

agency decision-making, mandates obligations on Plaintiffs, and carries

legal consequences. See 5 U.S.C. § 704. And the Rule shows an actual


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controversy exists between the parties within the meaning of 28 U.S.C.

§ 2201(a). Accordingly, this Court has jurisdiction to grant declaratory

relief, injunctive relief, equitable estoppel, and/or other relief pursuant

to 5 U.S.C. §§ 701–706, and 28 U.S.C. §§ 2201–2202.

      11.   Venue is proper in this Court under 5 U.S.C. § 703 and 28

U.S.C. § 1391(e)(1)(B)–(C) because a substantial part of the events or

omissions giving rise to the claim occurred in this judicial district, a

substantial part of property that is the subject of the action is situated

in this judicial district, and/or Plaintiffs are located in this judicial

district.

                                  PARTIES

      12.   Plaintiff MORA INDEPENDENT SCHOOL DISTRICT is a public

school district located in Northern New Mexico. The Hermit’s Peak/Calf

Canyon Fire damaged and destroyed several school buildings, other

infrastructure, fields, disrupted educational services, and increased

operating expenses. As a direct and proximate result of the Fire, Mora

Independent School District has suffered and continues to suffer

significant damages and interference with its ability to provide

education and public services. Mora Independent School District

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submitted a Notice of Loss pursuant to the HPFAA, which is attached

hereto as Exhibit “A”.

     13.   Plaintiff MORA-SAN MIGUEL ELECTRIC COOPERATIVE is a non-

profit cooperative entity in New Mexico. The Hermit’s Peak/Calf

Canyon Fire damaged and destroyed several buildings, power lines,

electrical and other infrastructure, disrupted electrical services, and

increased operating expenses. As a direct and proximate result of the

Fire, Mora-San Miguel Electric Cooperative has suffered and continues

to suffer significant damages and interference with its ability to provide

education and public services. Mora-San Miguel Electric Cooperative

submitted a Notice of Loss pursuant to the HPFAA, which is attached

hereto as Exhibit “B”.

     14.   Defendant FEMA is an executive agency of the United

States government, and bears responsibility in whole or part for the

acts or omissions complained of in this complaint, including

promulgating the Rule. Under the HPFAA, FEMA is directed to receive,

process, and pay claims in accordance with the HPFAA. 4



     4      See Hermit’s Peak Fire Assistance Act, Pub. L. No. 117-180,
§ 104(a)(2), 136 Stat. 2168, 2170 (2022).

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                               BACKGROUND

1.   The federal government enacted the HPFAA to compensate
     victims of the Hermit’s Peak Fire.

     15.   On April 6, 2022, the U.S. Forest Service initiated a

prescribed burn on federal land in the Santa Fe National Forest in San

Miguel County, New Mexico. The prescribed burn got out of control,

resulting in a wildfire that spread to adjacent, non-federal land, and

merged with another fire. 5 The fire, known as the Hermit’s Peak/Calf

Canyon Fire, is the largest fire in New Mexico history. It forced

thousands of residents to evacuate and ultimately destroyed 903

structures, including several hundred homes, and burned 341,471 acres

of land, trees, and vegetation.

     16.   The President declared the Hermit’s Peak Fire “a major

disaster,” and Congress found that it forced evacuations of, damaged, or

destroyed state, local, tribal, and private property in Colfax, Mora, and

San Miguel counties in New Mexico.6




     5     Id., § 102(a)(1)–(4), 136 Stat. at 2168.
     6     Id., § 102(a)(5)–(6), (9), 136 Stat. at 2168–69.

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      17.    Congress determined that “the United States should

compensate the victims of the Hermit’s Peak Fire.”7

      18.    On September 30, 2022, Congress enacted—and the

President signed—the HPFAA. 8

      19.    The HPFAA has two stated purposes, one is “to compensate

victims of the Hermit’s Peak/Calf Canyon Fire, for injuries resulting

from the fire” and two is “to provide for the expeditious consideration

and settlement of claims.”9

      20.    The HPFAA also provides for an election of remedies, which

permits Plaintiff to seek compensation from the United States for

injuries caused by the Fire by [1] submitting a claim under this Act; [2]

filing a claim or bringing a civil action under the Federal Tort Claims

Act, or [3] bringing an authorized civil action under any other provision

of law. 10


      7      Id., § 102(a)(10), 136 Stat. at 2169.
      8      Hermit’s Peak/Calf Canyon Fire Assistance, 88 Fed. Reg. at
59,731.
      9     Hermit’s Peak Fire Assistance Act, Pub. L. No. 117-180, §
102(b)(1), 136 Stat. 2168, 2169 (2022).
      10    Hermit’s Peak Fire Assistance Act, Pub. L. No. 117-180, §
104(h)(1), 136 Stat. 2168, 2174 (2022).
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      21.   Congress allocated $3.95 billion to compensate victims of the

Hermit’s Peak Fire under the HPFAA.11

      22.   The last day to submit a Notice of Loss under the Act is

November 14, 2024 and a Proof of Loss must be filed 150 days after

that. 12


2.    The HPFAA provides mandatory expedited compensation.

      23.   The HPFAA states that claimants are entitled to “payment

under this Act” for “actual compensatory damages.” 13

      24.   The HPFAA designated FEMA as the administrator of

claims under the Act. To that end, the HPFAA directed FEMA to

establish a “Claims Office” to “receive, process, and pay claims in

accordance with this Act.” 14




      11   FEMA, FAQ: Hermit’s Peak/Calf Canyon Fire Assistance Act
Final Rule (Aug. 28, 2023), https://www.fema.gov/fact-sheet/faq-
hermits-peakcalf-canyon-fire-assistance-act-final-
rule#:~:text=The%20Hermit%27s%20Peak%2FCalf%20Canyon,major%
20concerns%20from%20the%20community.
      12    44 CFR §§ 296.11, 296.30.
      13    Hermit’s Peak Fire Assistance Act, Pub. L. No. 117-180, §
104(c)(3), 136 Stat. 2168, 2170 (2022).
      14    Id.
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      25.   In determining and settling a claim under the HFPAA, the

Administrator shall determine only: [1] whether the claimant is an

injured person; [2] whether the injury that is the subject of the claim

resulted from the Fire; [3] whether the person or persons are otherwise

eligible to receive payment; and [4] whether sufficient funds are

available for payment and if so, the amount, if any to be allowed and

paid under the HFPAA.15

      26.   In accordance with providing expedited compensation for

damages, the HPFAA expressly mandates that “[n]ot later than 180

days after the date on which a claim is submitted under this Act, the

Administrator shall determine and fix the amount, if any, to be paid for

the claim.”16




      15    Id.
      16     Hermit’s Peak Fire Assistance Act, Pub. L. No. 117-180, §
104(c)(3), 136 Stat. 2168, 2171 (2022), italics added.

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3.    FEMA’s final rule denies Plaintiffs their right to
      mandatory expedited compensation.

      27.   The HPFAA directed FEMA to administrate claims under

the Act, and to “publish in the Federal Register … regulations for the

processing and payment of claims under this Act.”17

      28.   On August 29, 2023, FEMA published its “Final rule”—i.e.,

the Rule—in the Federal Register. 18

      29.   The Rule unequivocally states that, persons “eligible for

disaster assistance under FEMA’s Public Assistance Program are

expected to apply for all available assistance” and as a categorical

matter, “[c]ompensation will not be awarded under the Act for injuries

or costs that are eligible under the Public Assistance Program.” 19

      30.   In addition, FEMA representatives have advised Plaintiffs

that any and all claims for damages related to the Fire must first go

through the FEMA Public Assistance Program.



      17    Hermit’s Peak Fire Assistance Act, Pub. L. No. 117-180, §
103(a)(1), 136 Stat. 2168, 2169 (2022); id., § 104(f)(1), 136 Stat. at 2173.
      18    Hermit’s Peak/Calf Canyon Fire Assistance, 88 Fed. Reg.
59,730.
      19    44 CFR 296.21(f)(2).

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     31.   But nothing in the HPFAA indicates that a Plaintiff is

required to first submit a claim through the Public Assistance Program

before submitting a claim through the HPFAA or that categories of

damages that may qualify for public assistance are categorically

excluded from the damages recoverable under the HPFAA.

     32.   To the contrary, the HPFAA states that claimants are

entitled to “payment under this Act” for “actual compensatory

damages.” 20

     33.   Unlike the HPFAA’s mandatory compensation of damages,

the Stafford Act for public assistance is a discretionary reimbursement

program.

     34.   The Stafford Act likewise does not have mandated expedited

timeframes for payment of compensation. Rather, it has different,

additional, and more stringent standards, procedures, and processes.

Specifically, FEMA established seven phases for public assistance that

require several additional requirements not included in the HPFAA.

These additional requirements include compliance reviews, quarterly



     20     Hermit’s Peak Fire Assistance Act, Pub. L. No. 117-180, §
104(c)(3), 136 Stat. 2168, 2170 (2022).

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progress reports, audits, and project completion certifications. These

additional requirements can take years to complete. Plaintiffs are

informed and believes that FEMA is still processing and paying public

assistance for losses incurred during Hurricane Katrina in 2005.

     35.   Plaintiffs do not have years to wait on public assistance

before filing a claim under the HPFAA because the HPFAA is limited in

time and funding. FEMA’s Final Rule provides that the deadline to file

a Notice of Loss is November 14, 2024. 21 FEMA’s Final Rule creates a

situation where Plaintiffs will lose its opportunity to receive

compensation under the HPFAA.

     36.   In addition, The Stafford Act is limited in the assistance it

provides and Plaintiffs will not be eligible for public assistance for all

their damages. 22

     37.   Accordingly, contrary to the plain text and stated aim of the

HPFAA, the Rule unlawfully denies claimants expeditious

compensation for damages by [1] requiring Plaintiffs to first apply for

public assistance through the Stafford Act, which will result in




     21    44 CFR 296.11
     22    See Stafford Act generally.
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Plaintiffs missing the deadline to file a Notice of Loss under the HPFAA

and [2] refusing to compensate Plaintiffs for damages that may be

eligible under the Public Assistance Program.

     38.     As such, the Rule results in [1] unlawfully delaying

Plaintiff’s right to compensation under the HPFAA and [2] unlawfully

denying compensation under the HPFAA by causing Plaintiffs to miss

the deadline by applying for public assistance before filing a claim

under the HPFAA.

                                COUNT I
          (Violation of APA; 5 U.S.C. § 706—Contrary to Law)

     39.     All foregoing paragraphs of this Complaint are realleged and

incorporated herein by reference.

     40.     The APA requires courts to “hold unlawful and set aside”

agency action that is “not in accordance with law.”23

     41.     FEMA is an “agency” under the APA. 24




     23      5 U.S.C. § 706(2)(A).
     24      5 U.S.C. § 551(1).

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     42.   The Rule constitutes “[a]gency action made reviewable by

statute and final agency action for which there is no other adequate

remedy in a court.” 25

     43.   The Rule is not in accordance with, and is contrary, to the

law because the HPFAA entitles Plaintiffs to actual compensatory

damages to be paid within 180 days after submitting a claim, and the

Rule [1] requires Plaintiffs to first apply for public assistance and [2]

categorically refuses to award damages that are eligible under the

Public Assistance Program, even though Plaintiffs will be denied public

assistance for several items of damage because public assistance is

discretionary and limited.

     44.   FEMA’s contrary interpretation of the law is unsupported by

any authority. Indeed, it is contrary to the plain text and stated aim of

the HPFAA and FEMA’s own Public Assistance Program under the

Stafford Act.

     45.   The Rule harms Plaintiffs by depriving them of

compensation to which they are entitled under the HPFAA.




     25    5 U.S.C. §§ 551(4), (13), 704.

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     46.   By promulgating the Rule, FEMA has acted contrary to law,

and is thus in violation of the APA. The Rule is therefore invalid and

should be set aside.

                            COUNT II
  (Violation of APA; 5 U.S.C. § 706—Contrary to Constitutional
                              Right)

     47.   All foregoing paragraphs of this Complaint are realleged and

incorporated herein by reference.

     48.   The APA requires courts to “compel agency action unlawfully

withheld or unreasonably delayed” and “hold unlawful and set aside”

agency action that is “contrary to constitutional right, power, privilege,

or immunity.”26

     49.   FEMA is an “agency” under the APA. 27

     50.   The Rule constitutes “[a]gency action made reviewable by

statute and final agency action for which there is no other adequate

remedy in a court.” 28




     26    5 U.S.C. § 706(2)(B).
     27    5 U.S.C. § 551(1).
     28    5 U.S.C. §§ 551(4), (13), 704.

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     51.   The Rule is not in accordance with, and is contrary, to

Plaintiff’s Constitutional right to property. The HPFAA entitles

Plaintiff actual compensatory damages to be paid within 180 days after

submitting a claim, which confers a property right to Plaintiffs under

the Constitution. But the Rule improperly withholds Plaintiffs’ right to

property in that [1] requires Plaintiffs to first apply for public

assistance, which will cause Plaintiffs to miss the deadline to file a

claim under the HPFAA and [2] categorically refuses to award damages

that are eligible under the Public Assistance Program, even though

Plaintiffs will be denied public assistance for much of its damages

because of the discretionary and limited nature of public assistance.

     52.   FEMA’s refusal to provide compensation in accordance with

the HPFAA is unsupported by any authority. Indeed, it is contrary to

the plain text and stated aim of the HPFAA and FEMA’s own Public

Assistance Program under the Stafford Act.

     53.   The Rule harms Plaintiffs by depriving them of their

property right to compensation under the HPFAA.




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      54.   By promulgating the Rule, FEMA has acted contrary to

Plaintiffs’ constitutional right, and is thus in violation of the APA. The

Rule is therefore invalid and should be set aside.

                             COUNT III
(Violation of APA; 5 U.S.C. § 706—Exceeded Statutory Authority)

      55.   All foregoing paragraphs of this Complaint are realleged and

incorporated herein by reference.

      56.   The APA requires courts to “hold unlawful and set aside”

agency action that is “in excess of statutory jurisdiction, authority, or

limitations, or short of statutory right.” 29

      57.   The Rule is in excess of FEMA’s statutory jurisdiction,

authority, and limitations: The HPFAA requires FEMA to award

claimants compensation for damages caused by the Fire, and Congress

allocated funds for that purpose. By withholding or excluding

compensation for all damages, when only some damages may be eligible

for public assistance, the Rule exceeds FEMA’s statutory authority and

infringes on Congress’s power to enact legislation and allocate funds for

designated purposes.



      29    5 U.S.C. § 706(2)(C).

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      58.   By promulgating the Rule, FEMA has acted in excess of its

statutory jurisdiction, authority, and limitations under the HPFAA. The

Rule is therefore invalid and should be set aside.

                            COUNT IV
  (Violation of APA; 5 U.S.C. § 706—Arbitrary, Capricious, and
                      Abuse of Discretion)

      59.   All foregoing paragraphs of this Complaint are realleged and

incorporated herein by reference.

      60.   The APA requires courts to “hold unlawful and set aside”

agency action that is “arbitrary,” “capricious,” or an “abuse of

discretion.” 30

      61.   The Rule is arbitrary, capricious, and an abuse of discretion:

FEMA offers no reasoned explanation for misconstruing and ignoring

the plain text and stated aim of the HPFAA, as well as the Stafford Act.

FEMA offers no substantial justification for refusing to award Plaintiffs

expedited compensation for its damages in accordance with the HPFAA

and with the funds Congress deliberately allocated for damages caused

by the Fire beyond its own patently erroneous interpretation of the




      30    5 U.S.C. § 706(2)(A).

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HPFAA and the Stafford Act. FEMA failed to consider the impact of its

requirement that Plaintiffs first apply for public assistance and its

refusal to provide compensation for categories of damages that may be

available under the Stafford Act.

     62.   FEMA’s arbitrary and capricious abuse of discretion harms

Plaintiff and other similarly situated Hermit’s Peak Fire victims by

depriving them of compensation to which they are entitled under the

HPFAA.

     63.   By promulgating the Rule, without a proper factual or legal

basis, Defendant has acted arbitrarily and capriciously, have abused

their discretion, have otherwise acted not in accordance with law, and

have taken unlawful action in violation of the APA. The Rule is

therefore unlawful and should be set aside as arbitrary and capricious

under 5 U.S.C. § 706(2)(A).

                               COUNT V
                         (Equitable Estoppel)

     64.   All foregoing paragraphs of this Complaint are realleged and

incorporated herein by reference.

     65.   The HPFAA entitles Plaintiffs actual compensatory damages

to be paid within 180 days after submitting a claim.

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     66.   The HPFAA also provides for an election of remedies, which

permits Plaintiff to seek compensation from the United States for

injuries caused by the Fire by [1] submitting a claim under this Act; [2]

filing a claim or bringing a civil action under the Federal Tort Claims

Act, or [3] bringing an authorized civil action under any other provision

of law.

     67.   Nothing the HPFAA requires, or provides, that a claimant

must first apply for public assistance before submitting a claim under

the HPFAA or electing remedies for damages caused by the Fire.

     68.   Equitable estoppel is a federal common law cause of action

invoked to avoid injustice in particular cases. Heckler v. Cmty Servs. Of

Crawford County, Inc., 467 U.S. 51, 59 (1984).

     69.   It would be unjust to require Plaintiff and other claimants to

first seek public assistance before submitting claims for compensation

under the HPFAA.




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                          PRAYER FOR RELIEF

Wherefore Plaintiff respectfully requests that this Court:


     1.    Issue a declaratory judgment that the Rule is arbitrary and

           capricious and/or not in accordance with law insofar as it

           requires Plaintiffs and other claimants to first apply for

           public assistance before submitting a claim under the

           HPFAA and that Defendant acted in excess of statutory

           authority in promulgating the Rule;

     2.    Issue a declaratory judgment that the Rule is arbitrary and

           capricious and/or not in accordance with law insofar as it

           denies Plaintiffs and other claimants compensation

           mandated under the HPFAA and that Defendant acted in

           excess of statutory authority in promulgating the Rule;

     3.    Issue an order vacating and setting aside the portion of the

           Rule that requires Plaintiffs and other claimants to first

           apply for public assistance before submitting a claim under

           the HPFAA and denies compensation for damages

           potentially available through public assistance;



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    4.    Issue an order enjoining Defendant from requiring Plaintiffs

          to first apply for public assistance before issuing payment for

          damages under the HPFAA;

    5.    Issue an order enjoining Defendant from categorically

          withholding, denying, or refusing to award damages that

          may be provided through public assistance;

    6.    Award Plaintiffs costs and reasonable attorney’s fees; and

    7.    Grant such other relief as the Court deems just and proper.

Dated: July 26, 2024               Respectfully submitted:
                                   SINGLETON SCHREIBER, LLP

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